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                                           AFFIDAVIT

       I, Jeffrey Guagliardo, Special Agent, Federal Bureau of Investigation (“FBI”), being duly

sworn, state as follows:

       1.      I am a Special Agent with the FBI and have been so employed since July 2014. I

am currently assigned to an FBI Safe Streets Task Force and my responsibilities include the

investigation of violent drug gangs in the Philadelphia area. Prior to my assignment to the Safe

Streets Task Force, I investigated numerous violent crimes, including bank robberies,

kidnappings, firearms violations, Hobbs Act robberies, and the apprehension of violent fugitives.

       2.      I submit this affidavit in support of criminal complaints and warrants alleging that

Steven PENNYCOOKE and Shawn COLLINS each have violated Title 18, United States Code,

Section 922(g)(1), possession of a firearm by a felon.

       3.      Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of criminal complaints charging PENNYCOOKE and COLLINS each

with violating 18 U.S.C. § 922(g)(1), I have not included every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable

cause that PENNYCOOKE and COLLINS committed the offenses alleged in the complaints.

       4.      This affidavit is based on my personal knowledge, information provided to me by

other law enforcement officers and agents, conversations I had with others who have knowledge

of the events described herein, interviews of witnesses, a review of documents provided by the

Philadelphia Police Department (“PPD”), and a review of PPD body camera video.




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                                      PROBABLE CAUSE

       Civil Unrest in Philadelphia, Pennsylvania in relation to George Floyd’s Death

       5.      On May 30, 2020, peaceful protests began in Philadelphia, Pennsylvania in

relation to the in-custody death of George Floyd in Minneapolis, Minnesota. Although the

protests began as peaceful, civil unrest began to unfold throughout the City of Philadelphia,

during which numerous individuals participated in looting, burglary, arson, destruction of

property, and other violent acts, to include violence against police officers and destruction of

police property. As a result, Pennsylvania Governor Tom Wolf declared a disaster emergency

and the Mayor of Philadelphia instituted a curfew throughout the City of Philadelphia. On the

night of June 2, 2020, the curfew went into effect at 8:30 p.m. and lasted until 6:00 a.m. on June

3, 2020.

            June 2, 2020 Arrest of Steven PENNYCOOKE and Shawn WILSON

       6.      On June 2, 2020 at approximately 10:53 p.m., the PPD received a call regarding

two individuals loading what appeared to be an ATM machine onto a cart on the 4100 block of

Viola Street in Philadelphia, Pennsylvania. Shortly thereafter, PPD unit 16T2, which consisted

of two officers (“Officer A” and “Officer B”) in full police uniform and a marked police vehicle,

responded to the call and observed what appeared to be a safe in the middle of the street. The

responding officers also observed two individuals fitting the description from the call standing

near a vehicle about halfway down the block. These two males were subsequently identified as

Steven PENNYCOOKE and Shawn COLLINS.

       7.      As the responding officers pulled alongside PENNYCOOKE and COLLINS in

their marked police vehicle, Officer A asked them about the safe in the street. PENNYCOOKE

responded by asking Officer A what he was talking about. Officer A then observed



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PENNYCOOKE remove an object from his waistband and discard it into the rear passenger seat

of the vehicle. Officer A informed Officer B of what he observed, and they exited their police

vehicle. Officer A drew his weapon, ordered PENNYCOOKE to show Officer A his hands, and

asked PENNYCOOKE what he just threw in the vehicle. In response to Officer A’s order and

question, PENNYCOOKE shut his vehicle’s car door and put his hands in the air. When

PENNYCOOKE put his hands in the air, he locked the doors to his vehicle using the vehicle’s

key fob. Officer A then detained PENNYCOOKE for investigation. After PENNYCOOKE was

detained, Officer A looked inside the rear passenger side window and saw a handgun in plain

view on the rear seat where Officer A previously saw PENNYCOOKE discard an object. Officer

A subsequently unlocked the car doors with the vehicle’s key fob and recovered a black 9mm

Hi-Point C9 handgun, bearing serial number P10078139. The firearm was loaded with one (1)

round in the chamber and eight (8) rounds in the magazine.

       8.      While Officer A detained and investigated PENNYCOOKE, Officer B

simultaneously detained COLLINS and directed COLLINS to place his hands on a nearby wall.

As Officer B went to frisk COLLINS, COLLINS dropped his hands and turned his body. Officer

B then secured COLLINS while he frisked his waistband. Upon frisking COLLINS’s waistband,

Officer B felt a firearm. Officer B removed the firearm, placed it on the ground, and then placed

COLLINS in handcuffs. The firearm was secured and Officer B placed COLLINS into a police

vehicle. After COLLINS was placed in a police vehicle, he questioned Officer B about the

probable cause for his arrest. Officer B asked COLLINS if he had a permit to carry a firearm, to

which COLLINS replied “no sir.” COLLINS confirmed he knew he was being arrested for

possession of a firearm and went on to state words to the effect of how he had previously “beat a

million gun cases.” COLLINS then admitted that he was carrying the gun because “they purging



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out here” and “my brother got shot in the leg standing in a gas station the other day.” The firearm

recovered from COLLINS was a black 9mm Taurus PT24/7 G2 C handgun, bearing serial

number TMT31804. The firearm was loaded with one (1) round in the chamber and eleven (11)

rounds in the magazine.

       9.      While the officers were placing PENNYCOOKE into a police transport wagon,

PENNYCOOKE complained about his leg and informed the officers that he had recently been

shot. COLLINS, who was already in the transport wagon, also informed the officers that

PENNYCOOKE had been shot and stated words to the effect of, “He got shot. He got shot, bro. I

told you, bro. That’s why we got the guns.”

                                   Prior Felony Convictions

       10.     Based on a review of PENNYCOOKE’s and COLLINS’s criminal history reports,

both PENNYCOOKE and COLLINS are convicted felons. The following are details related to

their felony convictions:

               a.      In June 2011, PENNYCOOKE was found guilty of aggravated assault in

violation of Title 18, Pennsylvania Crimes Code, Section 2702A, which is a first-degree felony

in Pennsylvania. PENNYCOOKE was subsequently sentenced to five years to ten years in state

prison, followed by ten years of probation. PENNYCOOKE was released from prison on

September 22, 2015, and as of today’s date, will be on state parole until approximately

September 2020.

               b.      In June 2015, COLLINS pleaded guilty to carrying a firearm without a

license in violation of Title 18, Pennsylvania Crimes Code, Section 6106A1, which is a third-

degree felony in Pennsylvania. COLLINS was subsequently sentenced to nine (9) to twenty-

three (23) months in county prison, followed by four years of probation.



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                        Firearms in or Affecting Interstate Commerce

       11.     According to the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF),

both the Hi-Point firearm bearing serial number P10078139 that was possessed by

PENNYCOOKE, and the Taurus firearm bearing serial number TMT31804 that was possessed

by COLLINS, were manufactured outside of the state of Pennsylvania and therefore affected

interstate commerce. Furthermore, both firearms were designed to expel a projectile by the

action of an explosive, therefore both firearms meet the definition of firearm as set forth in 18

U.S.C. § 921(a)(3).

                                            Conclusion

       12.     Based on the foregoing facts, I respectfully submit there is probable cause to

believe that, on or about June 2, 2020, Steven PENNYCOOKE and Shawn COLLINS each

violated Title 18, United States Code, 922(g)(1), by possessing a firearm affecting interstate

commerce as a convicted felon.



                                              ___/s/ Jeffrey Guagliardo__________________
                                              Jeffrey Guagliardo
                                              Special Agent, FBI


Sworn to and subscribed
before me this 8th
day of June          , 2020



       /s/ Timothy R. Rice
The Honorable Timothy R. Rice
United States Magistrate Judge




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